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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


 FEDERAL TRADE COMMISSION,

                        Plaintiff,

                v.                                            Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                        Defendants.


                DECLARATION OF ALEX P. TREIGER IN SUPPORT OF
                 DEFENDANT U.S. ANESTHESIA PARTNERS, INC.’S
                   MOTION FOR LEAVE TO AMEND ITS ANSWER

       I, Alex P. Treiger, under penalty of perjury pursuant to 28 U.S.C. § 1746, hereby declare

as follows:

       1.      I am an Associate with the law firm of Kellogg, Hansen, Todd, Figel & Frederick,

P.L.L.C. in Washington, D.C., and serve as counsel for Defendant U.S. Anesthesia Partners, Inc.

(“USAP”) in the above-captioned matter. I submit this Declaration in support of USAP’s

Motion For Leave To Amend Its Answer. I have personal knowledge of the facts set forth herein

and am competent to testify thereto if called as a witness.

       2.      Attached as Exhibit A is a true and correct excerpt of the Federal Trade

Commission’s First Set of Requests for Admission to Defendant U.S. Anesthesia Partners, Inc.,

dated March 7, 2025.

       3.      Attached as Exhibit B is a true and correct excerpt of USAP’s Objections and

Responses to the Federal Trade Commission’s First Set of Requests for Admission, dated April

16, 2025.




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       4.      Attached as Exhibit C is a true and correct copy of a letter from Michael J. Arin

to Rebecca A. Beynon, dated April 30, 2025.

       5.      Attached as Exhibit D is a true and correct excerpt of USAP’s Amended

Objections and Responses to the Federal Trade Commission’s First Set of Requests for

Admission, dated May 28, 2025.

       6.      Attached as Exhibit E is a true and correct copy of a letter from Rebecca A.

Beynon to Michael J. Arin, dated May 28, 2025.

       7.      Attached as Exhibit F is a true and correct copy of an email exchange among

counsel from April 30, 2025 through June 3, 2025.

       8.      Attached as Exhibit G is a true and correct copy of USAP’s proposed Amended

Answer with redline changes against USAP’s Answer, Dkt. No. 157.

       9.      Attached as Exhibit H is a true and correct excerpt of the FTC’s Responses and

Objections to USAP’s First Set of Interrogatories.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on June 20, 2025, in Washington D.C.

                                                     /s/ Alex P. Treiger
                                                     Alex P. Treiger




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